      Case
       Case4:20-cv-00454-KGB
             1:19-cv-01338-AT Document 45-1
                                       82 Filed
                                            Filed
                                                03/16/21
                                                  03/16/21Page
                                                           Page1 of
                                                                 1 of
                                                                    4949




                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF GEORGIA
                              ATLANTA DIVISION


                                       :
                                       :
 SUZANNE GREENE,                       :
                                       :
       Plaintiff,                      :
                                       :
                                                   CIVIL ACTION NO.
 v.                                    :
                                                   1:19-cv-1338-AT
                                       :
 TYLER TECHNOLOGIES, INC.,             :
                                       :
                                       :
       Defendant.                      :
                                       :
                                    ORDER

      Plaintiff Suzanne Greene brings this suit against her former employer,

Defendant Tyler Technologies, Inc. (“Tyler”), alleging that Tyler misclassified her

as an exempt employee and failed to pay her legally required overtime pay under

the Fair Labor Standards Act (“FLSA”), 29 U.S.C. §§ 207 and 215(a)(2). Both

Parties move for summary judgment as to whether Ms. Greene, an

“implementation consultant,” was subject to the FLSA’s administrative exemption.

Tyler also moves for summary judgment that any alleged FLSA violation was not

willful, and Plaintiff moves for summary judgment that Tyler is a successor in

interest of ExecuTime Software, LLC (“ExecuTime”). For the reasons that follow,

Plaintiff’s Motion for Partial Summary Judgment [Doc. 57] is GRANTED, and

Defendant’s Motion for Summary Judgment [Doc. 56] is DENIED.
       Case
        Case4:20-cv-00454-KGB
              1:19-cv-01338-AT Document 45-1
                                        82 Filed
                                             Filed
                                                 03/16/21
                                                   03/16/21Page
                                                            Page2 of
                                                                  2 of
                                                                     4949




       Background1

Defendant Tyler’s ExecuTime Software:

       Defendant Tyler is the largest company in the United States providing

software and technology services to public sector agencies like local and state

governments. (Plaintiff’s Statement of Material Facts (“SOMF”), Doc. 57-7 ¶¶ 1-2;

Defendant’s Response to Plaintiff’s SOMF, Doc. 67-1 ¶¶ 1-2.) In June 2016, Tyler

acquired the software company ExecuTime. Tyler has described ExecuTime as

follows:

       ExecuTime™ is a leading time and attendance solution that empowers
       employees via self-service functionalities and allows supervisors to
       closely manage overtime, job costing, and labor data through reduced
       expenses. ExecuTime time assists organizations with the most
       complex time and seamlessly integrates with payroll software
       solutions.

(Id. ¶¶ 5, 13.)2 The ExecuTime software that government customers purchase

generally consists of “time and attendance” and/ or “advanced scheduling”

modules. (Deposition of Suzanne Greene (“Greene Dep.”) p. 48:16-25; 49-5.) The

more basic time and attendance software is focused on clocking in, clocking out,

requesting time off, or checking a time card. (Id. p. 20:17-24; 25:8-10; see also,

Training Video, Doc. 57 Ex. 3 at 11:00.) Advance scheduling affords clients “more

robust scheduling capabilities” such as a “wheel offering” that allows supervisors




1 This statement does not represent actual findings of fact. In re Celotext Corp., 487 F.3d 1320,
1328 (11th Cir. 2007). Instead, the Court has provided the statement simply to place the Court’s
legal analysis in the context of this particular case or controversy.
2 After the acquisition, however, ExecuTime generally did the same thing that it did prior to the

acquisition. (Deposition of Hillary Pasch, Doc. 46 p. 49:12-14.)
                                               2
       Case
        Case4:20-cv-00454-KGB
              1:19-cv-01338-AT Document 45-1
                                        82 Filed
                                             Filed
                                                 03/16/21
                                                   03/16/21Page
                                                            Page3 of
                                                                  3 of
                                                                     4949




to post open shifts on a wheel that employees can sign up for or a “trade board”

that allows employees to swap shifts themselves. (Deposition of Hillary Pasch

(“Pasch Dep.”), Doc. 46, p. 37:4-25.)

Process for Purchasing and Implementing ExecuTime:

      Typically, after a government customer decides to purchase ExecuTime

software, it consults with a Tyler sales representative, who creates a contract,

which is later reviewed by Tyler’s legal department. (Deposition of Hillary Pasch

(“Pasch Dep.”), Doc. 46 p. 35:11-16.) During this process, the client determines

what type of contract to purchase—daily, hourly, milestone, or paid in full, for

example. (Id. p. 36:9-13.) The customer also consults with the Tyler sales

representative to determine what additional features to include in the contract,

such as whether it wants the “advance scheduling” module (id. p. 39:3-8), and how

many physical timeclocks will be included (id. p. 44:2-11). Another purchase

decision the customer may make in conjunction with the sales representative is

whether to purchase a “mobile module” which allows user access though a general

web browser on a desktop or mobile phone. (Id. p. 44:15-20; 45:7-14.) At this

contracting stage, the customer and sales representative may also discuss “funded

development” which occurs when a customer wants to add something to the

software that does not yet exist, and the contract provides for the customer to fund

it. (Id. p. 61:4-22; 62:7-9.)

      After these decisions have been made and a contract has been signed, the

sales representative sends the contract to a team at ExecuTime that includes the

                                         3
      Case
       Case4:20-cv-00454-KGB
             1:19-cv-01338-AT Document 45-1
                                       82 Filed
                                            Filed
                                                03/16/21
                                                  03/16/21Page
                                                           Page4 of
                                                                 4 of
                                                                    4949




director of ExecuTime, a “manager of implementation,” and a different “manager

of implementation and support.” (Id. p. 40:6-24.) After this team of individuals

reviews the contract at issue, it assigns resources to the project, specifically a

project team consisting of a project manager and an implementation consultant.

(Id. p. 42:1-16.) The project manager is the supervisor of the implementation

consultant. (Id. p. 68:12-14.) When a project manager is assigned to a project, she

first reviews the contract to understand whether the contract is daily or hourly,

what hardware will be provided (such as how many physical timeclocks), where

the hardware will be installed, and other details provided by the contract. (Id. p.

60:14-25; 61:1-3.) The project manager then sends a welcome packet and schedules

a date with for the installation of the software done by a “deployment team.” (Id.

p. 62:17-25; 63:1-5.)

      In addition, the project manager drafts a “project plan” for the

implementation, which includes project objectives, as well as a checklist and

deadlines for user training and integration. (Greene Dep. p. 69:18-25; 70:1-11.)

This project plan and timeline also lays out dates and details for trainings,

including whether training will be in-person or remote and when the eventual “go

live” date will be. (Pasch Dep. p. 68:15-19.) “Going live” occurs after all of the user

training is completed and the customer has successfully completed “parallel

testing,” which involves using both ExecuTime and any previous time-tracking

method at the same time to ensure that the ExecuTime software was accurately

reflecting time and attendance. (Greene Dep. p. 62:1-8.) After the “go live” date,

                                          4
       Case
        Case4:20-cv-00454-KGB
              1:19-cv-01338-AT Document 45-1
                                        82 Filed
                                             Filed
                                                 03/16/21
                                                   03/16/21Page
                                                            Page5 of
                                                                  5 of
                                                                     4949




the customer uses only ExecuTime for clocking in, clocking out, requesting time

off, and other functions. (Id. p. 62:9-11.)

       In addition to this project plan, the project manager also works with the

customer to complete a questionnaire and a solution design. (Greene Dep. p. 78:19-

21.) These two documents include information concerning the customer’s existing

time and attendance policies, such as whether the locality/ agency uses comp time.

(Id. 79:7-25.) These documents also indicate whether a customer will have weekly

or bi-weekly check-in calls with the implementation consultant. (Id. p. 117:12-18).

       After the project manager has completed these initial aspects of the

implementation process, there is a “handoff” to the implementation consultant.

(Greene Dep. p. 32:15-17.) This handoff typically takes the form of a phone call

where the project manager introduces the customer3 to the implementation

consultant and they all discuss next steps. (Id. p. 76:4-14.) After the “handoff,” the

project manager supervises the implementation consultant in her duties. (Pasch

Dep. p. 68:12-14.)

Ms. Greene’s Role as an Implementation Consultant:

       Plaintiff Suzanne Greene was employed by ExecuTime beginning in

February 2016 but became employed by Tyler when Tyler acquired ExecuTime in

June 2016. (Pl. SOMF; Def. Response to SOMF ¶¶ 4-5, 10.) During Ms. Greene’s

first six months with ExecuTime, before the acquisition, she was employed as a


3 As the customers are local and state governments, the representative dealing with the
implementation of ExecuTime software would typically be a local project manager, HR manager,
payroll supervisor, or a similar title. (Greene Dep. p. 76:15-25.)
                                              5
       Case
        Case4:20-cv-00454-KGB
              1:19-cv-01338-AT Document 45-1
                                        82 Filed
                                             Filed
                                                 03/16/21
                                                   03/16/21Page
                                                            Page6 of
                                                                  6 of
                                                                     4949




“project manager,” working with the advanced scheduling software primarily used

in local police and fire departments. (Id. ¶¶ 5-6.) In this capacity, Ms. Greene’s

duties involved “building schedules,” which did not involve programming the

software but instead meant, in part, setting configurations so that the correct

schedules would populate in the software for the local departments. (Id. ¶¶ 7-8.)

       Shortly after ExecuTime was acquired by Tyler, Ms. Greene’s title was

changed to “implementation consultant.” (Id. ¶ 11.) Around this time, Ms. Greene

stopped working on the advance scheduling software and switched over to work on

the time and attendance side. (Greene Dep. p. 23:2-7.)4 Tyler’s job description for

the implementation consultant role states in relevant part:

       The Implementation Consultant is responsible for delivering high
       quality knowledge training to clients allowing them to use Tyler
       software products efficiently and effectively to achieve daily
       operations. The incumbent consults and partners with clients to gain
       a comprehensive understanding of workflow, business/ technical
       requirements and needs to ensure that the knowledge transfer
       addresses clients’ needs. The Consultant ensures that the transition to
       Tyler software is completed according to predetermined timelines and
       establishes a positive baseline for the new relationship between the
       client site and Tyler Technologies.

(Pl. SOMF ¶¶ 5, 13; Def. Resp. to SOMF ¶¶ 5, 13.) Broadly speaking, as an

implementation consultant, Ms. Greene’s job duties consisted of preparing for and

training the employees of Tyler’s government customers on how to use its

ExecuTime time and pay software. (Second Declaration of Suzanne Greene



4The Parties dispute the extent to which Plaintiff’s job duties changed with this new title and
dispute whether she still had scheduling responsibilities but agree that Ms. Greene began working
with a different software. (Pl. SOMF; Def. Response to SOMF ¶ 12.)
                                               6
        Case
         Case4:20-cv-00454-KGB
               1:19-cv-01338-AT Document 45-1
                                         82 Filed
                                              Filed
                                                  03/16/21
                                                    03/16/21Page
                                                             Page7 of
                                                                   7 of
                                                                      4949




(“Second Greene Decl.”), Doc. 69-1 ¶ 2.)5 In this capacity, she reported to a

supervisor that had the title of project manager. (Declaration of Suzanne Greene

(“Greene Decl.”), Doc. 57-2 ¶ 5.)6 Ms. Greene typically communicated with her

project manager daily by phone or email, and often several times a day. (Second

Greene Decl. ¶ 13.) Ms. Greene explained that, during her employment, the

number of implementation consultants working with ExecuTime software at any

given time fluctuated but that there were never more than ten and at one point




5 In their reply brief (Doc. 71 at 3-4), Tyler argues that Ms. Greene’s Second Declaration is a “sham
affidavit” and asks the Court not to consider this testimony. Simply put, the Court finds
Defendant’s argument on this point entirely without merit. The Court has thoroughly reviewed
Ms. Greene’s deposition testimony and does not find it inconsistent with her Second Declaration.
Moreover, it is exasperating that Tyler advances this argument when, throughout its briefing, it
misrepresents and stretches Plaintiff’s testimony. On multiple instances, Defendant emphasizes
that Ms. Greene “testified that she recommended that a client’s ‘go live’ date be delayed because
the client’s employees had a difficult time grasping the technology,” that the “project manager
accepted Plaintiff’s recommendation,” and that therefore it was “undisputed that Plaintiff’s
recommendations shaped the course and trajectory of any given implementation assigned to her—
including whether the client could ‘go live’ with Tyler’s software.” (Def. Mot. at 6-7, 18.) But Ms.
Greene’s deposition testimony does not reflect that she made any recommendation or decisions
about whether to delay a “go live” date. Instead, she explains that on one occasion she “let [her
project manager] know” that the employees she was training were “seasoned” and having a harder
time using the software, and then that ultimately resulted in a delay of the go-live date and the
project manager’s determination that she should conduct on-site training. (Greene Dep. p. 73:11-
25; 73:6-10.) To characterize this as “undisputed evidence” that she made recommendations is
disingenuous. Similarly, Defendant mischaracterizes Plaintiff’s brief to suggest that she admitted
that Ms. Greene would occasionally extend training sessions by asking clients to work through
lunch or remain on-site longer than scheduled (Def. Resp. to Pl. Mot. at 6). But Plaintiff made no
such admission and indeed it was Tyler’s own corporate representative who stated generally that
an unspecified implementation consultant might decide to tell the client to stay longer or work
through lunch. (Pasch Dep., Doc. 46 at 73:1-15.) The Court has discovered other examples of this
stretching of the actual testimony, as well. These slanted and inaccurate representations are not
appreciated. The Court expects better.
6 This Tyler project manager role is different from Ms. Greene’s previous role as project manager

before Tyler acquired ExecuTime. Prior to Tyler’s acquisition, there was only one person (the
project manager) assisting with the implementation of the software for a government client.
(Deposition of Suzanne Greene (“Greene Dep.”), Doc. 56-4 p. 33:19-24.) However, after the
acquisition, Tyler began assigning at least two people to work on the project of implementing the
software with a particular client: a project manager and an implementation consultant.
(Defendants’ SOMF, Doc. 56-1 ¶ 4; Pl. Resp. to Def. SOMF, Doc. 69-2 ¶ 4.)
                                                 7
      Case
       Case4:20-cv-00454-KGB
             1:19-cv-01338-AT Document 45-1
                                       82 Filed
                                            Filed
                                                03/16/21
                                                  03/16/21Page
                                                           Page8 of
                                                                 8 of
                                                                    4949




there were fewer than four. (Greene Dep. 36:2-10.) As of October 2019, Tyler

employed eight implementation consultants working with ExecuTime software.

(Pasch Dep. p. 52:20.)

      As described above, any contract with a government customer would go

through the sales team, the legal team, the ExecuTime director team, and then a

project manager before the “handoff” to the implementation consultant, Ms.

Greene. Once Ms. Greene received the “handoff,” she would review the

questionnaire and solution design that the project manager put together with the

client (Greene Dep. p. 78:5-11) in order to do a “generic setup” of the ExecuTime

application (id. p. 80:7-12). Reviewing these documents allowed Ms. Greene to

determine which preferences she should turn on in the application: for example, if

a customer used comp time, she could go into the preferences and check a box to

allow them to actually use comp time. (Id. p. 79:10-19.) After reviewing these

materials and completing the generic setup, Ms. Greene would conduct the

trainings, beginning with a “power user training.” (Id. p. 80:15-18.) Power user

trainings are the trainings with the “higher-ups” like the local government’s project

manager, or the head of their payroll, possibly the HR manager. (Id. p. 83:21-25;

84:1-4.) This training was sometimes done on-site and sometimes remotely,

depending on what the client and project manager discussed. (Id. p. 80:19-22.)

      For most of Ms. Greene’s employment, when power training was done on-

site, it lasted for three full days from 8:00 a.m. to 5:00 p.m. (Greene Dep. p. 129:19-

22.) In contrast, the remote power training was only a single day for 3 to 3.5 hours;

                                          8
       Case
        Case4:20-cv-00454-KGB
              1:19-cv-01338-AT Document 45-1
                                        82 Filed
                                             Filed
                                                 03/16/21
                                                   03/16/21Page
                                                            Page9 of
                                                                  9 of
                                                                     4949




however, near the end of Ms. Greene’s employment, it was spread out into 3

separate trainings of 3 hours each, for a total of 9 hours. (Id. p. 130:3-9.) During

these power user trainings, Ms. Greene would walk through the different aspects

of the software and its functionalities (id. p. 125:13-17) and the power users were

essentially watching Ms. Greene show them where everything is located. (Id. p.

127:8-12.) An example of Ms. Greene conducting a remote power user training is

attached to Plaintiff’s Motion for Partial Summary Judgment. (Training Video for

Hendersonville, TN Timeclock Training, Doc. 59, Ex. 3.) The video shows Plaintiff

sharing her screen with the power users, and showing them where certain

functions are located in the software related to system administrator settings7 and

also walking through the process for a fictional employee, “Joe Hourly,” clocking

in and out, and requesting time off for vacation or sick leave. (Id. at 10:30.)




7For example, in the training, Ms. Green shows the power users where they can click a button in
the software to “hide keypad entries” so that employees clocking in and out with their badge
numbers can either see the actual numbers or alternatively whether the numbers will show up on
the screen as stars, such as ****, for confidentiality purposes. (Id. at 0:50-1:12.)
                                              9
      Case
       Case4:20-cv-00454-KGB
             1:19-cv-01338-AT Document 45-1
                                       82 Filed
                                            Filed
                                                03/16/21
                                                  03/16/21Page
                                                           Page1010
                                                                  ofof
                                                                    4949




During this training, the power users asked questions to clarify the software’s

offerings and capabilities and where they could find certain functions. (See e.g., id.

at. 15:23.)

      After the power user training was completed, Ms. Greene would conduct

training with “super users” which were supervisors in the local government and

“end users” which were the everyday local employees. (Greene Dep. p. 86:13-19.)

Ms. Greene did not ask questions of the super users or end users during training.

(Id. 125:20-25.) Sometimes, a city or department would split the in-person and

remote training and do some training (say, for power users) in person but then

conduct super user and end user training remotely. (Id. p. 81:2-6.) After the end

user and super user trainings, the “parallel testing” occurs (id. p. 83:13-20), which,

as described above, involves the end and super users utilizing both the previous

time-tracking method and ExecuTime software at the same time to ensure that the

ExecuTime software is accurate. (Greene Dep. p. 62:1-8.) After this testing is

successfully completed, the customer “goes live.” After that point, Ms. Greene no

longer has involvement, as the customer is passed to Tyler’s technical support

team. (Greene Dep. p. 63:6-12.)

      Throughout the implementation process — after the handoff to Ms. Greene

and before the customer is passed to the support team — Ms. Greene would ensure

that the customer followed the checklist deadlines in the project plan that was

created by the Tyler project manager. (Greene Dep. p. 94:15-19.) Ms. Greene did

not set any deadlines but she had to be aware of them. (Id. p. 94:20-22.) Also

                                         10
      Case
       Case4:20-cv-00454-KGB
             1:19-cv-01338-AT Document 45-1
                                       82 Filed
                                            Filed
                                                03/16/21
                                                  03/16/21Page
                                                           Page1111
                                                                  ofof
                                                                    4949




throughout, Ms. Greene would have weekly or bi-weekly calls with the client to go

over progress. (Greene Dep. p. 59:20-21.) Sometimes during these calls, or at other

times, Ms. Greene would engage in “troubleshooting” when the software was not

functioning properly: for example, if overtime was not properly populating.

(Greene Dep. p. 133:15-22.) For something like overtime failing to populate, Ms.

Greene could fix the problem by adjusting the preferences “on the back end” (id. p.

135:11-17), however, if the problem was technical, Ms. Greene would escalate the

problem to her project manager and then it would go to the support team. (Id.

p.135:3-11); (Second Greene Decl. ¶ 4.) Ms. Greene declares that she was

reprimanded on the single occasion when she attempted to send a ticket to the

support group directly without going through her project manager first. (Id. ¶ 5.)

      Typically, Ms. Greene dealt with multiple implementation projects at once,

and managed her workload to ensure that the deadlines in multiple concurrent

project plans were met. (Pl. SOMF ¶ 25; Def. Resp. to SOMF ¶ 25.) She handled

between 5 and 20 projects at a time. (Greene Dep. p. 93:24.) She spent

approximately 30-40 percent of her work time conducting ExecuTime training

sessions with customers and 30-40 percent of her time preparing for ExecuTime

training sessions. (Pl. SOMF ¶ 38; Def. Resp. to SOMF ¶ 38.) She spent about 20

percent of her time on weekly or bi-weekly check-in calls with customers, (Second

Greene Decl. ¶ 20), and helped with troubleshooting throughout (Greene Dep. p.

93:5-13.). Ms. Greene performed her implementation consultant duties from

either her home or at a client site. (Def. SOMF ¶ 9; Pl. Resp. to Def. SOMF ¶ 9.)

                                        11
      Case
       Case4:20-cv-00454-KGB
             1:19-cv-01338-AT Document 45-1
                                       82 Filed
                                            Filed
                                                03/16/21
                                                  03/16/21Page
                                                           Page1212
                                                                  ofof
                                                                    4949




       During her employment, Ms. Greene received a salary of between $45,000

and $48,500 per year (Greene Dep. p. 30:23-25; 31:1-3; 40:17.). She was paid bi-

weekly. (Def. SOMF ¶ 35; Pl. Resp. to Def. SOMF ¶ 35.) At no point in her

employment did she supervise anyone or have the authority to hire or fire any other

employee. (Second Greene Decl. ¶ 8.) Tyler classified Ms. Greene as exempt under

the FLSA in part based on advice of outside legal counsel. (Def. SOMF ¶ 36; Pl.

Resp. to Def. SOMF ¶ 36.) Tyler was sued in a putative collective action in 2008

for   alleged   misclassification   and   overtime   violations   with   respect   to

implementation consultants. (Pl. SOMF ¶ 48; Def. Resp. to Pl. SOMF ¶ 48) (citing

Patty Beall et al. v. Tyler Technologies, Inc., and EDP Enterprises, Inc., 2:08-cv-

422 TJW (E.D. Tex. 2008)). That case settled after full briefing on summary

judgment but before the court ruled. Patty Beall et al., 2:08-cv-422 TJW, Doc. 215.

       Plaintiff ultimately resigned her employment with Tyler after taking leave in

spring 2019. (Def. SOMF. ¶¶ 32-33; Pl. Resp. to Def. SOMF ¶¶ 32-33.) A source of

some contention, Ms. Greene’s post-Tyler resume reads:




                                          12
      Case
       Case4:20-cv-00454-KGB
             1:19-cv-01338-AT Document 45-1
                                       82 Filed
                                            Filed
                                                03/16/21
                                                  03/16/21Page
                                                           Page1313
                                                                  ofof
                                                                    4949




(Greene Dep., Ex. 2.) Plaintiff Greene filed this action on March 26, 2019 asserting

a single claim for failure to pay overtime pursuant to 29 U.S.C. §§ 207 and

215(a)(2), alleging that Tyler’s failure to pay her time-and-a-half for overtime

hours worked was not done in good faith within the meaning of 29 U.S.C. § 260.

      Legal Standard

      Summary judgment may only be granted when “the pleadings, depositions,

answers to interrogatories, and admissions on file, together with the affidavits, if

any, show that there is no genuine issue as to any material fact and that the moving

party is entitled to summary judgment as a matter of law.” FED. R. CIV. P. 56(c).

The “purpose of summary judgment is to pierce the pleadings and to assess the

proof in order to see whether there is a genuine need for trial.” Matsushita Elec.

Indus. Co., Ltd. v. Zenith Radio Corp., 475 U.S. 574, 587 (1986) (quoting the

Advisory Committee’s note to FED. R. CIV. P. 56). “[The] party seeking summary

judgment always bears the initial responsibility of informing the district court of

the basis for its motion, and identifying those portions of the [record before the

court] which it believes demonstrate the absence of a genuine issue of material

fact.” Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986). The burden then shifts to

the non-movant to establish, by going beyond the pleadings, that there is indeed a

genuine issue as to the material facts its case. Thompson v. Metro. Multi–List,

Inc., 934 F.2d 1566, 1583 n.16 (11th Cir. 1991); Chanel, Inc. v. Italian Activewear

of Fla., Inc., 931 F.2d 1472, 1477 (11th Cir. 1991). A dispute of material fact “is

‘genuine’ . . . [only] if the evidence is such that a reasonable jury could return a

                                        13
      Case
       Case4:20-cv-00454-KGB
             1:19-cv-01338-AT Document 45-1
                                       82 Filed
                                            Filed
                                                03/16/21
                                                  03/16/21Page
                                                           Page1414
                                                                  ofof
                                                                    4949




verdict for the non-moving party.” Anderson v. Liberty Lobby, Inc., 477 U.S. 242,

248 (1986); see also Matsushita, 475 U.S. at 587.

      When ruling on the motion, the Court must view all the evidence in the

record in the light most favorable to the non-moving party and resolve all factual

disputes in the non-moving party’s favor. Welch v. Celotex Corp., 951 F.2d 1235,

1237 (11th Cir. 1992); Ryder Int’l Corp. v. First Am. Nat’l Bank, 943 F.2d 1521,

1523 (11th Cir. 1991). The Court must avoid weighing conflicting evidence. Liberty

Lobby, 477 U.S. at 255; McKenzie v. Davenport–Harris Funeral Home, 834 F.2d

930, 934 (11th Cir. 1987). Nevertheless, the non-moving party’s response to the

motion for summary judgment must consist of more than conclusory allegations,

and a mere “scintilla” of evidence will not suffice. Walker v. Darby, 911 F.2d 1573,

1577 (11th Cir. 1990); Pepper v. Coates, 887 F.2d 1493, 1498 (11th Cir. 1989). But

where a reasonable fact finder may “draw more than one inference from the facts,

and that inference creates a genuine issue of material fact, then the court should

refuse to grant summary judgment.” Barfield v. Brierton, 883 F.2d 923, 933–34

(11th Cir. 1989). The essential question is “whether the evidence presents a

sufficient disagreement to require submission to a jury or whether it is so one-sided

that one party must prevail as a matter of law.” Anderson, 477 U.S. at 251–52.

      The standard of review for cross-motions for summary judgment does not

differ from the standard applied when only one party files a motion, but simply

requires a determination of whether either of the parties deserves judgment as a

matter of law on the facts that are not disputed. Am. Bankers Ins. Group v. United

                                         14
       Case
        Case4:20-cv-00454-KGB
              1:19-cv-01338-AT Document 45-1
                                        82 Filed
                                             Filed
                                                 03/16/21
                                                   03/16/21Page
                                                            Page1515
                                                                   ofof
                                                                     4949




States, 408 F.3d 1328, 1331 (11th Cir. 2005). The Court must consider each motion

on its own merits, resolving all reasonable inferences against the party whose

motion is under consideration. Id. The Eleventh Circuit has explained that

“[c]ross-motions for summary judgment will not, in themselves, warrant the court

in granting summary judgment unless one of the parties is entitled to judgment as

a matter of law on facts that are not genuinely disputed.” United States v. Oakley,

744 F.2d 1553, 1555 (11th Cir. 1984). Cross-motions may, however, be probative of

the absence of a factual dispute where they reflect general agreement by the parties

as to the controlling legal theories and material facts. Id. at 1555-56.

       Discussion8

       The FLSA, which was enacted to protect the health, efficiency and welfare of

workers in the United States, requires employers to pay overtime (time and a half)

to employees who work more than forty hours per week. 29 U.S.C. § 207(a)(1).

However, Section 213(a)(1) exempts from this requirement “any employee

employed in a bona fide executive, administrative, or professional capacity.” 29

U.S.C. § 213(a)(1). Keeping in mind the comprehensive remedial purposes of the

FLSA,9 the Court interprets its provisions neither liberally nor narrowly, but


8 Plaintiff moves for summary judgment on the issue of successor liability, arguing that Tyler is
the successor in interest of ExecuTime Software, LLC under the federal standard’s flexible
considerations. (Plaintiff’s Motion for Partial Summary Judgment, Doc. 57-6 at 12-14.) Defendant
does not oppose this portion of Plaintiff’s Motion. For the reasons stated in Plaintiff’s Motion (id.
at 12-14), the Court finds that Ms. Greene has established that Tyler is the successor of ExecuTime
Software, LLC. Summary judgment is therefore GRANTED on this issue.
9 The primary purpose of the FLSA is the protection of the nation’s employees from detrimental

labor conditions and to provide a minimum subsistence wage. See Brooklyn Sav. Bank v. O’Neil,
324 U.S. 697, 706-07 (1945), reh’g denied 325 U.S. 893; Nicholson v. World Bus. Network, Inc.,
105 F.3d 1361, 1363 (11th Cir. 1997); see also 29 U.S.C. §§ 202(a), 206, 207, 212.
                                                 15
      Case
       Case4:20-cv-00454-KGB
             1:19-cv-01338-AT Document 45-1
                                       82 Filed
                                            Filed
                                                03/16/21
                                                  03/16/21Page
                                                           Page1616
                                                                  ofof
                                                                    4949




instead gives its provisions a “fair interpretation.” Encino Motorcars, LLC v.

Navarro, 138 S. Ct. 1134, 1142 (2018) (quoting Antonin Scalia & Bryan Garner,

Reading Law, 363 (2012)). The employer bears the burden of proving its

entitlement to an exemption. Morgan v. Family Dollar Stores, Inc., 551 F.3d 1233,

1269 (11th Cir. 2008); Evans v. McClain of Georgia, Inc., 131 F.3d 957, 965 (11th

Cir. 1997). For Defendant Tyler to prevail, it must prove the applicability of the

exemption by “clear and affirmative evidence.” Birdwell v. City of Gadsden, 970

F.2d 802, 805 (11th Cir. 1992).

              The FLSA’s Administrative Exemption

       The Parties vigorously dispute whether Ms. Greene was an administrative

employee exempt from the FLSA based on her position as an implementation

consultant, tasked with training Tyler’s government customers on how to use the

ExecuTime software.

       In order for the FLSA’s administrative exemption to apply, Tyler must prove

that: (1) Ms. Greene was compensated on a salary basis at a rate of not less than

$455 per week;10 (2) Ms. Greene’s primary duty consisted of the performance of

office or non-manual work directly related to the management or general business

operations of the employer or the employer’s customers; and (3) Ms. Greene’s

primary duty includes the exercise of discretion and independent judgment with



10Since Ms. Greene’s employment with Tyler, the DOL has increased the salary basis threshold to
$684 per week (which works out to be $35,568 per year). Plaintiff does not dispute that she was
paid a salary of $45,000 to $48,500 per year and therefore meets the first criteria of the
administrative exemption.
                                              16
      Case
       Case4:20-cv-00454-KGB
             1:19-cv-01338-AT Document 45-1
                                       82 Filed
                                            Filed
                                                03/16/21
                                                  03/16/21Page
                                                           Page1717
                                                                  ofof
                                                                    4949




respect to matters of significance. 29 C.F.R. § 541.200(a). Whether an employee

falls under the administrative exemption is a highly fact-intensive inquiry that

depends on the particular circumstances of each case. See 29 C.F.R. § 541.700 (a)

(providing that the “[d]etermination of an employee’s primary duty must be based

on all the facts in a particular case, with the major emphasis on the character of the

employee’s job as a whole”); 29 C.F.R. § 541.202(b) (providing that “[t]he phrase

‘discretion and independent judgment’ must be applied in the light of all the facts

involved in the particular employment situation in which the question arises”). As

a job title is of little use for exemption purposes, courts look to the tests articulated

by the Department of Labor’s (“DOL”) regulations under the FLSA in assessing the

applicability of the FLSA’s statutory exemptions. Morgan, 551 F.3d at 1265-66.

      The regulations define the term “primary duty” as “the principal, main,

major or most important duty that the employee performs.” 29 C.F.R. § 541.700(a).

Factors to consider when determining the primary duty of an employee include (1)

the relative importance of the exempt duties as compared with other types of

duties; (2) the amount of time spent performing exempt work; (3) the employee’s

relative freedom from direct supervision; and (4) the relationship between the

employee’s salary and the wages paid to other employees for the kind of nonexempt

work performed by the employee. Id. While the amount of time spent performing

exempt work can be a useful guide in determining whether exempt work is the

primary duty of an employee, it is not dispositive of the primary duty issue. See 29

C.F.R. § 541.700(b) (noting that “employees who spend more than 50 percent of

                                           17
      Case
       Case4:20-cv-00454-KGB
             1:19-cv-01338-AT Document 45-1
                                       82 Filed
                                            Filed
                                                03/16/21
                                                  03/16/21Page
                                                           Page1818
                                                                  ofof
                                                                    4949




their time performing exempt work will generally satisfy the primary duty

requirement” and that “[e]mployees who do not spend more than 50 percent of

their time performing exempt duties may nonetheless meet the primary duty

requirement if the other factors support such a conclusion”).

      It is undisputed that Ms. Greene meets the salary requirement of the

administrative exemption. However, the Parties dispute (1) whether Ms. Greene’s

primary duties involved work directly related to the management or general

business operations of Tyler or its customers, and (2) whether her primary duties

involved the exercise of discretion and independent judgment with respect to

matters of significance. Tyler must prove both by clear and affirmative evidence

for the exemption to apply. Birdwell, 970 F.2d at 805.

      i.     Primary duty consisting of the performance of office or non-
             manual work directly related to the management or general
             business operations of the employer or the employer’s
             customers

      Tyler argues that, as an implementation consultant, Ms. Greene performed

work directly related to both the “servicing of Tyler’s business: delivering software

to the public sector” and “to the servicing of the business of Tyler’s clients.”

(Defendant’s Motion for Summary Judgment (“Def. Mot.”), Doc. 59 at 13.) Ms.

Greene argues that she did not perform work directly related to the management

or general business operations of Tyler or its customers, as her work with respect

to Tyler was production work, and as her work with Tyler’s government customers

consisted of “presenting canned software presentations that she did not herself


                                         18
      Case
       Case4:20-cv-00454-KGB
             1:19-cv-01338-AT Document 45-1
                                       82 Filed
                                            Filed
                                                03/16/21
                                                  03/16/21Page
                                                           Page1919
                                                                  ofof
                                                                    4949




create” and thus “[s]imply acting as a conduit for information about how

ExecuTime software works does not constitute work directly related to the general

business operations of Tyler’s local government clients.” (Resp. to Def. Mot., Doc.

69 at 11 n. 3, 15-16.)

       Per DOL regulations, to meet the requirement that an employee perform

work “directly related to the management or general business operations,” an

employee “must perform work directly related to assisting with the running or

servicing of the business, as distinguished, for example, from working on a

manufacturing production line or selling a product in a retail or service

establishment.” 29 C.F.R. § 541.201(a) (emphasis added). See also, Cotten v. HFS-

USA, Inc., 620 F.Supp.2d 1342, 1347 (M.D. Fla. 2009) (“This prong is met if the

employee engages in running the business itself or determining its overall course

or policies, not just in the day-to-day carrying out of the business’ affairs.”) (citing

Talbott v. Lakeview Ctr., Inc., 2008 WL 4525012, at *4 (N.D. Fla. Sept. 30, 2008)

(quoting Bothell v. Phase Metrics, Inc., 299 F.3d 1120, 1125 (9th Cir. 2002))

(internal citations omitted). The regulations provide examples of work that is

“directly related to management or general business operations,” as follows:

       (b) Work directly related to management or general business
       operations includes, but is not limited to, work in functional areas
       such as tax; finance; accounting; budgeting; auditing; insurance;
       quality control; purchasing; procurement; advertising; marketing;
       research; safety and health; personnel management; human
       resources; employee benefits; labor relations; public relations,
       government relations; computer network, internet and database
       administration; legal and regulatory compliance; and similar
       activities.

                                          19
      Case
       Case4:20-cv-00454-KGB
             1:19-cv-01338-AT Document 45-1
                                       82 Filed
                                            Filed
                                                03/16/21
                                                  03/16/21Page
                                                           Page2020
                                                                  ofof
                                                                    4949




29 C.F.R. § 541.201(b). The exemption “relates to employees whose work involves

servicing the business itself—employees who can be described as staff rather than

line employees.” U.S. DOL, Wage & Hour Div., Opinion Letter, 2010 WL 1822423,

at *2 (Mar. 24, 2010) (internal citation omitted).

      Courts addressing the issue of whether an employee engages in work

“directly related to management or general business operations” often find the

“production versus administrative” dichotomy helpful. This concept is intended to

“distinguish between work related to the goods and services which constitute the

business’ marketplace offerings and work which contributes to running the

business itself.” Id. at *3; Davis v. J.P. Morgan Chase & Co., 587 F.3d 529, 535 (2d

Cir. 2009) (“[W]e have drawn an important distinction between employees

directly producing the good or service that is the primary output of a business and

employees performing general administrative work applicable to the running of

any business.”) And while the administrative-production distinction may be an

“imperfect analytical tool” in a service-oriented employment context, employees

“can be considered ‘production’ employees in those instances where their job is to

generate (i.e., ‘produce’) the very product or service that the employer’s business

offers to the public.” Desmond v. PNGI Charles Town Gaming, L.L.C., 564 F.3d

688, 694 (4th Cir. 2009) (citing Reich v. John Alden Life Ins. Co., 126 F.3d 1, 9 (1st

Cir. 1997)).




                                         20
      Case
       Case4:20-cv-00454-KGB
             1:19-cv-01338-AT Document 45-1
                                       82 Filed
                                            Filed
                                                03/16/21
                                                  03/16/21Page
                                                           Page2121
                                                                  ofof
                                                                    4949




      Keeping this framework in mind, the Court first addresses Tyler’s passing

argument that Ms. Greene performed work directly related to Tyler’s business

operations. (Def. Mot. at 13.) In support, Tyler argues that Ms. Greene serviced

Tyler’s business by “taking the software developed and licensed by other Tyler

resources and deploying it for the clients assigned to her.” (Id.)

      Plaintiff first asks the Court to disregard this argument, as Defendant never

“put Plaintiff on notice of the argument in discovery.” (Resp. to Def. Mot. at n. 3.)

During discovery, Plaintiff asked Tyler to “[i]dentify each exemption … that you

contend were applicable to Plaintiff … [and] Describe in detail the factual basis for

such contentions …” (Interrogatory No. 1, Defendant’s Answers and Objections to

Plaintiff’s First Continuing Interrogatories, Doc. 49-1 at 2.) In response, Tyler

stated that Plaintiff was subject to the administrative exemption because “her

primary duty involved the performance of office or non-manual work directly

related to the general business operations of Tyler’s customers…” (Id.) (emphasis

added). Accordingly, Ms. Greene argues that Tyler should not now be permitted to

argue that Ms. Greene’s work was directly related to Tyler’s general business

operations since it did not disclose that theory previously. (Pl. Reply in Support of

Mot. for Partial Summary Judgment, Doc. 70 at 5) (citing Goodman-Gable-Gould

Co. v. Tiara Condominium Ass’n, Inc., 595 F.3d 1203, 1210-13 (11th Cir. 2010)

(holding that district court did not abuse its discretion in excluding evidence

defendant sought to introduce on a misrepresentation theory that it did not

mention in its answer or initial interrogatory responses)). In addition, Ms. Greene

                                         21
      Case
       Case4:20-cv-00454-KGB
             1:19-cv-01338-AT Document 45-1
                                       82 Filed
                                            Filed
                                                03/16/21
                                                  03/16/21Page
                                                           Page2222
                                                                  ofof
                                                                    4949




argues that Tyler cannot show that her work was directly related to its management

or general operations because, under the “administrative-production dichotomy,”

her work was clearly production work not subject to the exemption. (Pl. Motion for

Partial Summary Judgment (“Pl. Mot.”), Doc. 57 at 18 n. 3; Pl. Resp. to Def. Mot.

at n. 3.)

        Tyler does not respond to Plaintiff’s argument in justification of its

interrogatory response or to substantively argue that Plaintiff worked directly on

Tyler’s general business operations. As a result, Tyler appears to have conceded

this point. Jones v. Bank of America, N.A., 564 Fed.Appx. 432, 434 (11th Cir.

2014). Yet, even absent any such concession, Tyler has not carried its burden of

showing by “clear and affirmative evidence” that Ms. Greene’s work was directly

related to Tyler’s management or general business operations. Birdwell, 970 F.2d

at 805.

       Ms. Greene was undisputedly not part of Tyler’s management: she had no

supervisory responsibility and could not hire or fire any other employees, and she

reported to a supervisor that she checked in with daily or multiple times a day.

(Second Greene Decl. ¶¶ 8, 13); See e.g. Desmond v. PNGI Charles Town Gaming,

L.L.C., 564 F.3d 688, 694 (4th Cir. 2009) (holding that horse racing trainers did

not perform work directly related to management where they had no supervisory

responsibility and their positions were not part of the management). Moreover,

under the production-administrative dichotomy described above, Ms. Greene’s

work was clearly production rather than administrative. There is no evidence in

                                       22
      Case
       Case4:20-cv-00454-KGB
             1:19-cv-01338-AT Document 45-1
                                       82 Filed
                                            Filed
                                                03/16/21
                                                  03/16/21Page
                                                           Page2323
                                                                  ofof
                                                                    4949




the record that Ms. Greene’s duties involved any aspect of running Tyler’s business,

formulating policy, negotiating contracts, or the like. See 29 C.F.R. § 541.201(b);

Cotten, 620 F.Supp.2d at 1348-49 (finding that plaintiff, a field supervisor for a

home finishing company, did not perform work directly related to business

operations where he was not involved in formulating business policies or

procedures, did not negotiate or execute contracts, create work orders, or perform

duties related to defendant’s financing, budgeting, accounting, auditing, research,

employee benefits, taxes, insurance, advertising, or computer technology);

Dalheim v. KDFW-TV, 918 F.2d 1220, 1231 (5th Cir. 1990) (affirming lower court’s

finding that television news producers did not perform tasks related to the general

business operations where they were not responsible for setting business policy,

planning objectives of the news department, negotiating salary or benefits, or

promoting newscasts). The service Ms. Greene provided to Tyler’s government

customers — implementation and training on ExecuTime software — was,

according to Tyler’s corporate representative, always provided to customers

purchasing the ExecuTime software. (Pasch Dep. p. 56:4-18) (explaining that she

was not aware of any customers who purchased ExecuTime software without the

installation, implementation (which includes the training), and support). It is

therefore clear that the ExecuTime training was an “output of the business.” Davis,

587 F.3d at 535; Desmond, 564 F.3d at 694.

      Tyler’s contention that Ms. Greene’s work was “critical” to its own business

operations because her failure to perform would “leave Tyler vulnerable” and at

                                        23
      Case
       Case4:20-cv-00454-KGB
             1:19-cv-01338-AT Document 45-1
                                       82 Filed
                                            Filed
                                                03/16/21
                                                  03/16/21Page
                                                           Page2424
                                                                  ofof
                                                                    4949




reputational risk is an argument that could be applied to nearly any employee in

any workplace and is legally without merit. Whether or not an employee is

indispensable is insufficient to prove that her primary duties are administrative.

See Desmond, 564 F.3d at 692 (citing Clark v. J.M. Benson Co., 789 F.2d 282, 287

(4th Cir. 1986) (“The regulations emphasize the nature of the work, not its ultimate

consequences. Thus, [the plaintiff’s] apparent indispensability does not obviate the

need to prove independently that her primary duty is ‘directly related to

management policies or general business operations.’”). In sum, Tyler does not

seriously appear to rely on this argument, for good reason. The uncontroverted

evidence shows that Ms. Greene did not perform work directly related to Tyler’s

general business operations.

      Tyler next and principally argues that Ms. Greene’s work was directly related

to servicing the general business operations of Tyler’s clients. (Def. Mot. at 13.)

According to Tyler, because Ms. Greene “led the deployment of ExecuTime

software based on the client’s policies and procedures, trained clients on the

software, and helped troubleshoot issues,” she was an “adviser or consultant on the

ExecuTime software for Tyler’s clients.” (Id. at 14.) Plaintiff responds that:

       Plaintiff Greene did not consult municipal governments about how to
      compensate their employees or how to track their time. Rather, she
      assisted them in teaching them how to [use] their new time and pay
      software and how to configure its functionalities—a fancy way of
      saying “changing the settings.” How the customers used the software
      was based on their own needs, which were determined long before
      Plaintiff ever became involved. Simply acting as a conduit for
      information about how ExecuTime software works does not even


                                         24
      Case
       Case4:20-cv-00454-KGB
             1:19-cv-01338-AT Document 45-1
                                       82 Filed
                                            Filed
                                                03/16/21
                                                  03/16/21Page
                                                           Page2525
                                                                  ofof
                                                                    4949




      arguably constitute the “general business operations” of Tyler’s local
      government clients.

(Resp. to Def. Mot. at 19.) On the issue of whether an employee is subject to the

administrative exemption based on work related to their employer’s customers,

the DOL regulations provide:

      (c) An employee may qualify for the administrative exemption if the
      employee’s primary duty is the performance of work directly related
      to the management or general business operations of the employer’s
      customers. Thus, for example, employees acting as advisers or
      consultants to their employer’s clients or customers (as tax experts or
      financial consults, for example) may be exempt.

29 C.F.R. § 541.201(c). Courts interpreting this subsection have explained that

“while the regulations provide that ‘servicing’ a business may be administrative, §

541.205(b), ‘advising the management’ as used in [subsection (c)] is directed at

advice on matters that involve policy determinations, i.e., how a business should

be run or run more efficiently, not merely providing information in the course of

the customer’s daily business operation.” Bratt v. County of Los Angeles, 912 F.2d

1066, 1070 (9th Cir. 1990) (emphasis added) (finding that probation officers were

nonexempt because the services they provided to courts were not related to court

policy or overall operational management, contrasting with financial advisers who

advise customers on how to increase financial productivity or reduce risk); see also

Boyd v. Bank of America Corp., 109 F.Supp.3d 1273, 1288 (C.D. Cal. 2015)

(holding that real estate appraisers were nonexempt as a matter of law and did not

“advise” or consult” with defendant’s customers, mortgage lenders, within the

meaning of 29 C.F.R. § 541.201(c) ,where they did not offer a service meant to guide

                                        25
       Case
        Case4:20-cv-00454-KGB
              1:19-cv-01338-AT Document 45-1
                                        82 Filed
                                             Filed
                                                 03/16/21
                                                   03/16/21Page
                                                            Page2626
                                                                   ofof
                                                                     4949




the internal policies of the customer, contrasting with tax or financial consultants);

Watts v. Silverton Mortgage Specialists, Inc., 378 F.Supp.3d 1164, 1174 (N.D. Ga.

2019) (Jones, J.) (finding that plaintiff, a mortgage underwriter, did not function

as advisor or servicer to bank’s customers where plaintiff “analyzed loan

applications utilizing pre-determined guidelines for risk provided to her by her

employer” and did not market defendant’s loans); Gallegos v. Equity Title Co. of

America, Inc., 484 F.Supp.2d 589, 595-596 (W.D. Tex. 2007) (determining that

duties of escrow officer, who performed closing services for defendant’s customers,

did not relate to the management or business operations of defendant or its

customers, as it was production work that merely applied existing policies and

procedures on a case-by-case (customer-by-customer) basis).

        Here, Tyler’s customers are not other businesses with private financial

incentives but local and state governments. The Wage & Hour Division of the DOL

recently explained that there is “scarce authority … regarding what constitutes the

general business operations of a [government].” U.S. DOL, Wage & Hour Div.,

Opinion Letter, FLSA 2020-9 at 3-4 (June 25, 2020)11 (citing O’Neill v. City of Palo

Alto, 2007 WL 9733770, at *5 (N.D. Cal. May 4, 2007)). However, it is often more

useful to ask whether the job duties involve, “on the one hand, the day-to-day

carrying out of the government’s functions or, on the other, running the

government (or a component of the government) itself or determining its overall



11 See, https://www.dol.gov/sites/dolgov/files/WHD/opinion-letters/FLSA/2020_06_25_09_FLSA.pdf
(last accessed Mar. 11, 2021).

                                             26
      Case
       Case4:20-cv-00454-KGB
             1:19-cv-01338-AT Document 45-1
                                       82 Filed
                                            Filed
                                                03/16/21
                                                  03/16/21Page
                                                           Page2727
                                                                  ofof
                                                                    4949




course and policies.” Id. at 4. (emphasis added) (citing Dalheim, 918 F.2d at 1230-

31) (explaining that plaintiffs who did not set business policy or plan the long- or

short-term objectives of the company were nonexempt).

      Accordingly, regardless of the details of the general business operations of

Tyler’s particular government customers, a reasonable jury could not find that Ms.

Greene primary duties involved advising those government customers on matters

involving running a component of the government or determining the overall

course and policies of the government. Id.; Bratt, 912 F.2d at 1070 (explaining that

subsection (c) is directed at “advice on matters that involve policy determinations,

i.e., how a business should be run or run more efficiently, not merely providing

information in the course of the customer’s daily business operation”). Indeed,

there is no record evidence that Ms. Greene advised any government customer, for

example, how to run their personnel department, what benefits to offer (comp

time, overtime, vacation time), or even what software to use to administer their

time and attendance policies. (Second Greene Decl. ¶ 6.) As characterized by Tyler,

Ms. Greene’s role was entirely distinct from that of a tax adviser or financial

consultant who may direct a customer on matters of policy determination about

how to better or more efficiently run their business operation or how to comply

with particular regulations (an example Defendant cites in its reply at 7).

      The DOL regulations identify the following areas as connected to general

business operations of a business: tax; finance; accounting; budgeting; auditing;

insurance; quality control; purchasing; procurement; advertising; marketing;

                                         27
      Case
       Case4:20-cv-00454-KGB
             1:19-cv-01338-AT Document 45-1
                                       82 Filed
                                            Filed
                                                03/16/21
                                                  03/16/21Page
                                                           Page2828
                                                                  ofof
                                                                    4949




research; safety and health; personnel management; human resources; employee

benefits; labor relations; public relations, government relations; computer

network, internet and database administration; legal and regulatory compliance;

and similar activities. 29 C.F.R. § 541.201(b). Of these categories, the only ones

Tyler even suggests are implicated here are “quality control” and “database

administration.” (Resp. to Pl. Mot. at 9.) But Defendant does not provide any

explanation or theory, let alone record evidence, to show how or when Plaintiff

advised any government customer in either capacity. In contrast, Plaintiff argues

(Pl. Reply at 3), and the uncontroverted record supports, that Ms. Greene did not

advise government customers how to set up, modify, test or secure their

government databases; how to program, design, or modify software; what software

or functionalities to buy; or how to update or reconfigure the software to function

more efficiently. The decision of what software to buy was made in collaboration

with a Tyler sales representative and a product owner. (Pasch Dep. p. 34:13-18.)

After a customer had decided to purchase ExecuTime software, Ms. Greene did not

advise it on what ExecuTime features or functionalities to purchase – such as

whether to have advanced scheduling or a milestone contract, or how many

timeclocks to have – as those decisions too were made prior to her involvement

and in conjunction with a Tyler sales representative. (Second Greene Decl. ¶¶ 8, 9,

16, 23; Pasch Dep. p. 39:3-8; 44:12-14; 58:1-5; 60:11-13.)

      The Parties agree that the majority of Plaintiff’s work time was spent

conducting trainings and preparing to conduct trainings. (Pl. SOMF ¶ 38; Def.

                                        28
      Case
       Case4:20-cv-00454-KGB
             1:19-cv-01338-AT Document 45-1
                                       82 Filed
                                            Filed
                                                03/16/21
                                                  03/16/21Page
                                                           Page2929
                                                                  ofof
                                                                    4949




Resp. to SOMF ¶ 38.) With respect to her time actually conducting the trainings

with power users, super users, and end users, the Wage & Hour Division has

instructed that providing routine education by way of “delivering educational

lectures, materials, and presentations would be day-to-day work and would be

nonexempt.” See, supra, U.S. DOL, Wage & Hour Div., Opinion Letter, FLSA

2020-9 at 4 (June 25, 2020)) (also noting that furnishing presentations or “acting

as a courier or messenger” of information is likely exempt). See also, Kohl v.

Woodlands Fire Dep’t, 440 F. Supp. 2d 626, 640 (S.D. Tex. 2006) (“To the extent

that [plaintiff] taught prepackaged classes, delivered preset lectures, or presented

preestablished programs, she was not engaged in administrative work.”); Ale v.

Tenn. Valley Auth., 269 F.3d 680, 686, 690 (6th Cir. 2001) (affirming decision that

training officer, who taught employees based on inherited lesson plans that he

adjusted to incorporate new administrative orders issued by the Nuclear

Regulatory Commission was nonexempt). And while Tyler makes much of

Plaintiff’s time spent reviewing client information, such as the questionnaire, and

familiarizing herself with their policies, such review time certainly doesn’t meet the

standard of advising a government customer on its general business operations as

contemplated by 29 C.F.R. § 541.201(c).

      Tyler’s attempt to dress up Ms. Greene’s duties is no substitute for evidence

of the actual duties she performed. In this vein, Tyler’s reliance on Ms. Greene’s

title of “implementation consultant” is misplaced. “A job title alone is insufficient

to establish the exempt status of an employee. The exempt or nonexempt status of

                                         29
      Case
       Case4:20-cv-00454-KGB
             1:19-cv-01338-AT Document 45-1
                                       82 Filed
                                            Filed
                                                03/16/21
                                                  03/16/21Page
                                                           Page3030
                                                                  ofof
                                                                    4949




any particular employee must be determined on the basis of whether the

employee's salary and duties meet the requirements of the regulations in this part.”

29 C.F.R. § 541.2. See also, Trammell v. Amdocs, Inc., No. 2:15-CV-01473-RDP,

2016 WL 3618367, at *4 (N.D. Ala. July 6, 2016) (“[R]egardless of job title, a

plaintiff   must   have actually performed    one    of   the   exempt   executive,

administrative, or professional duties customarily and regularly.”) (emphasis

added) (citing 29 C.F.R. § 541.201(a)); Chin Hui Hood v. JeJe Enterprises, Inc.,

207 F.Supp.3d 1363, 1371 (N.D. Ga. 2016); Barreto v. Davie Marketplace, LLC,

331 F. App’x 672, 674 (11th Cir. 2009) (explaining that courts should look beyond

an employee’s title to the specific duties performed). Of course, were job titles

sufficient to prove an exemption, employers would be able to escape liability

simply by casting an employee’s job title in a manner befitting a particular

exemption.

       Similarly, Tyler’s heavy-handed reliance on Ms. Greene’s post-employment

resume, which is framed at a high level of generality, first is not evidence of the

actual duties she performed as an implementation consultant, as numerous courts

have explained. Ale, 269 F.3d 680 at 689–90 (6th Cir. 2001) (“When titles and

vague job descriptions are not born out by more specific evidence they are not

entitled to any special weight, in fact, this type of evidence has been rejected.”);

Schaefer v. Indiana Michigan Power Co., 358 F.3d 394, 400–01 (6th Cir. 2004)

(“[W]e have recognized that resumes may not provide the most accurate picture of

an employee's job because resumes are typically designed to enhance the

                                        30
      Case
       Case4:20-cv-00454-KGB
             1:19-cv-01338-AT Document 45-1
                                       82 Filed
                                            Filed
                                                03/16/21
                                                  03/16/21Page
                                                           Page3131
                                                                  ofof
                                                                    4949




employee’s duties and responsibilities in order to obtain a job. ”) (internal citations

omitted); Morrison v. Cty. of Fairfax, VA, 826 F.3d 758, 764 (4th Cir. 2016)

(explaining that generalized job descriptions or employee resumes “do not add

appreciably to or call into question the more specific evidentiary submissions of

the parties”). Second, the duties as described in Ms. Greene’s resume do not

indicate that her work was in any way directly related to the general business

operations of Tyler’s customers. “Directing project teams to meet project

objectives,” (which were in fact undisputedly pre-determined, see Greene Dep. p.

102:10-17), “setting clear expectations for project teams,” or “holding regular

meetings with clients to ensure that milestones are met” in no way establishes that

Ms. Greene guided local policy or procedure, or ran/ serviced the government

customer’s operations, or advised in any capacity listed in 29 C.F.R.§ 541.201(b).

      Defendant’s argument that Ms. Greene’s work of “troubleshooting” for the

government customers renders her exempt is not supported by the DOL

regulations, the legal authority, or the facts. The Wage & Hour Division has

explained that IT support work, such as work involving “installing, configuring,

testing, and troubleshooting computer applications, networks and hardware” does

not qualify for the administrative exemption under Section 13(a)(1) of the FLSA.

See, U.S. DOL, Wage & Hour Div., Opinion Letter, FLSA 2006-42 (Oct. 26, 2006)

at 5 (citing Martin v. Ind. Mich. Power Co., 381 F.3d 574, 581-84 (6th Cir. 2004)

(finding that IT support specialist responsible for installing and upgrading

hardware and software, and testing and troubleshooting equipment was not

                                          31
      Case
       Case4:20-cv-00454-KGB
             1:19-cv-01338-AT Document 45-1
                                       82 Filed
                                            Filed
                                                03/16/21
                                                  03/16/21Page
                                                           Page3232
                                                                  ofof
                                                                    4949




exempt because work was not directly related to management policies or general

business operations)). See also, Lee v. MegaMart, Inc., 223 F. Supp.3d 1292, 1300

(N.D. Ga. 2016) (May, J.) (explaining that IT workers “who primarily troubleshoot

and repair computer systems are not exempt while those who have a more in-depth

role in creating and managing computer systems are exempt”). Here, not only did

Plaintiff spend a minimal amount of time “troubleshooting” but she undisputedly

did not have a role creating or managing computer systems, did not repair

computer systems, and did not do work involving any programming expertise. In

fact, she explicitly stated that she was not able to do such technical work:

      Q: But in terms of what your responsibility was to, quote, unquote,
      build the schedule, are you actually programming the software or
      what is it that you’re doing?

      A: No, I’m not very technical, so when it comes to, like, programming
      and things in depth on the technical side, I did not handle any of that.

(Greene Dep. p. 26:11-18.) Instead, Ms. Greene was able to fix straightforward

problems related to the software’s functionality, like overtime not populating, by

something as “simple” as fixing the preferences on the back end. (Greene Dep. p.

135:11-17.) If a problem was at all technical, a ticket would be sent to the support

team to handle it. (Second Greene Decl. ¶ 4.)

      Also misplaced is Defendant’s reliance on Plaintiff’s alleged indispensable

role in allowing local government customers to schedule and pay their employees.

(Def. Mot. at 13-14.) See Desmond, 564 F.3d at 692, supra (explaining that it is the

nature of the work, not the ultimate consequences that should be evaluated, and


                                         32
      Case
       Case4:20-cv-00454-KGB
             1:19-cv-01338-AT Document 45-1
                                       82 Filed
                                            Filed
                                                03/16/21
                                                  03/16/21Page
                                                           Page3333
                                                                  ofof
                                                                    4949




noting that secretaries, for example, can be essential but are typically nonexempt

employees). By Defendant’s logic, nearly any employee would be rendered exempt

as indispensable in some manner or other, for example, a store clerk indispensable

because a customer could not make a purchase without their involvement.

      Tyler’s cited cases in support all involve employees directly engaged in

advising the policies and operations of their employer or its relevant customers

and are therefore inapplicable to the facts of this case. In Verkuilen v. MediaBank,

LLC, 646 F.3d 979 (7th Cir. 2011), the plaintiff was an account manager for a media

company who worked with clients (companies) to determine their specific

advertising needs and customize the advertising products accordingly, as follows:

      Identifying customers’ needs, translating them into specifications to
      be implemented by the developers, assisting the customers in
      implementing the solutions—in the words of [the employer’s] chief
      operating officer, account managers are expected to ‘go out,
      understand [the customers’ requirements], build specifications,
      understand the competency level of our customers. Then they will
      build functional and technical specifications and turn it
      over to … developers who will then build the software, …
      checking in with the account manager, making sure what they are
      building is ultimately what the customer wanted.

Id. at 982. (emphasis added) (also explaining the account manager helped the

software engineers determine how to adapt its software and dealt with the

complexity and variance as to each client). Here, there is no evidence that Ms.

Greene built any specifications or customizations or advised in any capacity related

to the development of new software. She did not interact with anyone who

engineered software. All of the decisions about what functionalities a local


                                        33
       Case
        Case4:20-cv-00454-KGB
              1:19-cv-01338-AT Document 45-1
                                        82 Filed
                                             Filed
                                                 03/16/21
                                                   03/16/21Page
                                                            Page3434
                                                                   ofof
                                                                     4949




government preferred were made prior to Ms. Greene’s involvement and she was

not in a powerful intermediary role, as described in Verkuilen.

       In Brooks v. Healthcare-Iq, Inc., 2019 WL 497693 (M.D. Fla. Feb. 8, 2019),

the plaintiff, who was primarily a training and development manager, performed

a “complete redesign” of the complex medical software training curriculum and

also “managed the curriculum design.” He testified that he “completely redesigned

the approach that was taken in the curriculum,” and either designed teaching

modules himself or gave instructions to his colleague/ assistant to do so, without

any approval from higher-ups. Id. at 2. (also noting that the plaintiff designed

graphs and illustrations or would go to the marketing department and give them

ideas about what he wanted certain marketing materials to look like). Here, Ms.

Greene’s duties did not involve the design or redesign of any software, she certainly

did not have anyone at a lower level or in another department design modules or

training materials at her request, and she did not approve any other employee’s

expense reports, as in Brooks.12

       For the reasons above, Tyler has not met its burden of demonstrating that

Ms. Greene’s primary duties were directly related to the management or general

business operations of Tyler or of its local government customers under the




12 Carbaugh v. Unisoft Intern., Inc., 2011 WL 5553724 (S.D. Tex. Nov. 15, 2011) is also highly

distinguishable. In that case, the plaintiff was responsible for installing, adapting, and tailoring
software to suit clients’ needs, working with programmers and coders to supply them with
information to produce software suited to the clients’ needs, and himself developed and tailored
training modules. Id. at *22. Ms. Greene did not install or adapt any ExecuTime software and she
had no engagement with programmers or coders to produce new software capabilities.
                                                34
      Case
       Case4:20-cv-00454-KGB
             1:19-cv-01338-AT Document 45-1
                                       82 Filed
                                            Filed
                                                03/16/21
                                                  03/16/21Page
                                                           Page3535
                                                                  ofof
                                                                    4949




applicable legal standard and as contemplated by 29 C.F.R. § 541.200. A

reasonable jury could not find otherwise. In contrast, Plaintiff has met her burden

in establishing that the exemption is not applicable under the present facts as

construed in the light most favorable to Tyler. Therefore, the Court finds that Ms.

Greene did not fall within the administrative exemption and summary judgment

in favor of Plaintiff is appropriate. For good measure, however, the Court addresses

the third prong of the administrative exemption test below.

      ii.    Primary duties consisting of the exercise of discretion and
             independent judgment with respect to matters of
             significance

      Tyler argues that Ms. Greene exercised discretion and independent

judgment because she made recommendations to and worked directly with the

government customer with little supervision. (Def. Mot. at 18.) Further, when

troubleshooting, she had to “evaluate issues presented, escalate issues as

appropriate and ensure they were resolved to the client’s satisfaction.” (Id.) On the

flipside, Ms. Greene argues that her duties of ExecuTime instruction and

troubleshooting existed within “constrained and pre-established parameters that

did not permit any real discretion with respect to matters of significance, much less

as a primary duty,” and that no factfinder could conclude otherwise based on the

applicable regulations and law. (Pl. Mot. at 25.)

      In order to qualify as an exempt administrative employee, the DOL’s

regulations provide:



                                         35
      Case
       Case4:20-cv-00454-KGB
             1:19-cv-01338-AT Document 45-1
                                       82 Filed
                                            Filed
                                                03/16/21
                                                  03/16/21Page
                                                           Page3636
                                                                  ofof
                                                                    4949




      [i]n general, the exercise of discretion and independent judgment
      involves the comparison and the evaluations of possible courses of
      conduct, and acting or making a decision after the various possibilities
      have been considered. The term “matters of significance” refers to the
      level of importance or consequence of the work performed.

29 C.F.R. § 541.202(a). Factors to consider in determining whether the “discretion

and independent judgment” criteria is satisfied include, but are not limited to: (1)

whether the employee has authority to formulate, affect, interpret, or implement

management policies or operating practices; (2) whether the employee carries out

major assignments in conducting the operations of the business; (3) whether the

employee performs work that affects business operations to a substantial degree,

even if the employee’s assignments are related to operation of a particular segment

of the business; (4) whether the employee has authority to commit the employer

in matters that have significant financial impact; (5) whether the employee has

authority to waive or deviate from established policies and procedures without

prior approval; (6) whether the employee has authority to negotiate and bind the

company on significant matters; (7) whether the employee provides consultation

or expert advice to management; (8) whether the employee is involved in planning

long- or short-term business objectives; (9) whether the employee investigates and

resolves matters of significance on behalf of management; and (10) whether the

employee represents the company in handling complaints, arbitrating disputes or

resolving grievances. Id. at § 541.202(b).

      Although the “exercise of discretion and independent judgment implies that

the employee has authority to make an independent choice, free from immediate

                                        36
      Case
       Case4:20-cv-00454-KGB
             1:19-cv-01338-AT Document 45-1
                                       82 Filed
                                            Filed
                                                03/16/21
                                                  03/16/21Page
                                                           Page3737
                                                                  ofof
                                                                    4949




direction or supervision . . . employees can exercise discretion and independent

judgment even if their decisions or recommendations are reviewed at a higher

level. Thus, the term ‘discretion and independent judgment’ does not require that

the decisions made by an employee have a finality that goes with unlimited

authority and a complete absence of review . . . The decisions made as a result of

the exercise of discretion and independent judgment may consist of

recommendations for action rather than the actual taking of action.” 29 C.F.R. §

541.202(c). The regulations further provide that the “exercise of discretion and

independent judgment must be more than the use of skill in applying well-

established techniques, procedures or specific standards described in manuals or

other sources.” Id. at § 541.202(e) (emphasis added). It “does not include clerical

or secretarial work, recording or tabulating data, or performing other mechanical,

repetitive, recurrent or routine work.” Id. Finally, “[a]n employee does not exercise

discretion and judgment in matters of significance merely because the employer

will experience financial losses if the employee fails to properly perform his or her

job.” 29 C.F.R. § 541.202(f).

      The Court turns first to Plaintiff’s “troubleshooting” work as the law is

abundantly clear on this front. The Wage & Hour Division has clearly articulated

that IT support work, including troubleshooting computer applications, networks,

and hardware and ensuring that computer equipment or a computer application is

“working properly according to the specifications designed by others” are examples

of work that “lacks the requisite exercise of discretion and independent judgment

                                         37
      Case
       Case4:20-cv-00454-KGB
             1:19-cv-01338-AT Document 45-1
                                       82 Filed
                                            Filed
                                                03/16/21
                                                  03/16/21Page
                                                           Page3838
                                                                  ofof
                                                                    4949




within the meaning of the administrative exemption.” See supra, U.S. DOL, Wage

& Hour Div., Opinion Letter, 2006-42 (Oct. 26, 2006) (further explaining that such

work “does not involve formulating management policies or operating practices,

committing the employer in matters that have significant financial impact,

negotiating and binding the company of significant matters, planning business

objectives, or other indicators of exercising discretion and independent judgment

with respect to matters of significance discussed in 29 C.F.R. § 541.202(b)); Turner

v. Human Genome Scis., Inc., 292 F.Supp. 2d 738, 745, 747 (D. Md. 2003) (finding

that although employees responsible for troubleshooting and correcting software

problems and network connectivity issues used knowledge and skill to solve

computer problems, their primary duties did not involve discretion or independent

judgment); Burke v. County of Monroe, 225 F. Supp. 2d 306, 320 (W.D.N.Y. 2002)

(noting that operating computer networks involved “routine duties without the

requirement of discretion”). Moreover, the facts here show that Ms. Greene only

spent a “small percentage” of time “troubleshooting.” (Greene Dep. p. 93:5-13.)

      Likewise unavailing is Tyler’s contention that Ms. Greene exercised

discretion in determining whether to escalate a troubleshooting question to the

support team. (Def. Mot. at 18). Not only does the record indicate that Ms. Greene

had to go through her supervisor before a ticket could be sent to the support team

(Greene Dep. p. 136:3-11; Second Greene Decl. ¶¶ 4-5) but moreover, an employee

does not exercise discretion by following prescribed procedures. Gallegos, 484

F.Supp.2d at 597 (holding that escrow officer did not exercise independent

                                        38
         Case
          Case4:20-cv-00454-KGB
                1:19-cv-01338-AT Document 45-1
                                          82 Filed
                                               Filed
                                                   03/16/21
                                                     03/16/21Page
                                                              Page3939
                                                                     ofof
                                                                       4949




judgment where his “decisions,” such as whether to procced with a closing if only

one party appeared, were simply a matter of following the prescribed procedures

and where he had to contact a borrower or broker if there was a problem with the

lien).

         Next, Tyler’s argument that Plaintiff exercised discretion because she

coordinated and prioritized her own schedule also does not meet the requirements

of 29 C.F.R. § 541.202(a). It is insufficient to show discretion on matters of

significance only through evidence that an employee makes decisions regarding

“when and where to do different tasks, as well as the manner in which to perform

them.” Clark v. J.M. Benson, Co., 789 F.2d 282, 287-88 (4th Cir. 1986) (explaining

that the district court erred in finding that bookkeeper exercised discretion in

deciding when and where to do different tasks and the order and manner in which

to perform them); see also, U.S. DOL, Wage & Hour Div., Opinion Letter, 2005 WL

3308592 (Aug. 19, 2005) (“[P]lanning one’s own workload, such as prioritizing the

pursuit of particular leads … determining which potential witnesses to see and

which documents to review, and making similar decisions that promote effective

and efficient use of that individual‘s own work time … do not constitute exercising

discretion and independent judgment with respect to matters of significance.”).

Such decisions assuredly do not meet the standard for “matters of significance”

which generally includes “responsibilities dealing with matters of broad scope and

significant detail that have a profound effect on the employer’s business,” such as:

“matters that have significant financial impact, negotiating and binding the

                                        39
       Case
        Case4:20-cv-00454-KGB
              1:19-cv-01338-AT Document 45-1
                                        82 Filed
                                             Filed
                                                 03/16/21
                                                   03/16/21Page
                                                            Page4040
                                                                   ofof
                                                                     4949




company on significant matters; and planning long- or short-term business

objectives.” Allemani v. Pratt (Corrugated Logistics) LLC, No. 1:12-cv-100-RWS,

2014 U.S. Dist. LEXIS 77715, at *30 (N.D. Ga. June 6, 2014) (citing Alvarez v. Key

Transp. Serv. Corp., 541 F. Supp.2d 1308, 1313-14 (S.D. Fla. 2008)).

        Tyler next argues that Ms. Greene exercised discretion and independent

judgment because, for each project she worked on, she “assessed client protocols

and procedures, managed competing client deadlines and priorities, [and] created

custom training agendas based on client feedback.” (Def. Resp. to Pl. Mot. at 14.)

Not only is this characterization devoid of any specifics and unsupported by record

evidence13, but it is not indicative of any duties emblematic of discretion and

independent judgment in matters of significance: that is, actions that “involve[]

the comparison and the evaluations of possible courses of conduct, and acting or

making a decision after the various possibilities have been considered.” 29 C.F.R.

§ 541.202(a) (emphasis added).

        Tyler admits that Ms. Greene herself had no involvement in making

decisions to set deadlines for the projects she was involved in. (Def. Resp. to Pl.

SOMF ¶ 24.) As noted supra at n. 5, Tyler’s suggestion that Ms. Greene herself

made decisions to delay “go live” dates finds no support in the record and

nevertheless is not a matter of significance. (Second Greene Decl. ¶¶ 13, 15);




13 Defendant does not cite to the record in support. However, Ms. Greene testified in connection with a

particular client that she “did not create the actual agenda,” that it was a template set up by her supervisor
(Greene Dep. p. 139:15-20), and that project managers “built a template within the project plan” (id. p.
111:17-19).

                                                     40
      Case
       Case4:20-cv-00454-KGB
             1:19-cv-01338-AT Document 45-1
                                       82 Filed
                                            Filed
                                                03/16/21
                                                  03/16/21Page
                                                           Page4141
                                                                  ofof
                                                                    4949




(Greene Dep. p. 181:24-25; 182:1-3) (explaining that the project manager “handled

the Go-Live date. I would just tell them the – you know, essentially the client is

requesting to put on hold, and they would take it from there.”)

       As a result, the evidence before the Court indicates that any decision-making

capacity Ms. Greene held was a matter of following prescribed procedures, and that

it was her supervisor who had to make any substantive change to a customer’s

project plan or timeline.14 Under the applicable legal authority, this does not

constitute the exercise of discretion, let alone in matters of significance. See, Ale,

269 F.3d at 686, 690 (6th Cir. 2001) (affirming decision that training officer, who

taught employees based on inherited lesson plans that he adjusted to incorporate

new administrative orders and also tested those employees, did not exercise

discretion or independent judgment because job only involved following

prescribed procedures and did not involve comparison of possible courses of

conduct); Gallegos, 484 F.Supp.2d at 597 (holding that escrow officer did not

exercise independent judgment where his “decisions” were simply a matter of

following the prescribed procedures and where he had to contact a borrower or

broker if there was a problem); Beauford v. ActionLink, LLC, 781 F.3d 396, 405

(8th Cir. 2015) (holding that brand advocates who followed set scripts and well-

established techniques, procedures, and standards set forth in manuals were not




14Indeed, whether the supervisor’s decision to alter the deadlines of a given implementation
project is a “matter of significance” is by no means apparent.
                                            41
      Case
       Case4:20-cv-00454-KGB
             1:19-cv-01338-AT Document 45-1
                                       82 Filed
                                            Filed
                                                03/16/21
                                                  03/16/21Page
                                                           Page4242
                                                                  ofof
                                                                    4949




covered by the administrative exemption, noting that they had to seek approval

before deviating from procedure).

      Likewise, Tyler’s position that Ms. Greene had the “discretion to make

recommendations” to its government customers that “shaped the course and

trajectory of any given implementation” is inconsistent with the record evidence.

Ms. Greene declared that she “never made any recommendations to Tyler

customers about the possibility of purchasing additional hours” (Second Greene

Decl. ¶ 16); “the decision whether a customer would have in-person trainings or

remote trainings was made before I was brought in on a project” (id. ¶ 9); “at no

point in my employment did I ever recommend that a customer have me come back

on-site for additional training” (id. ¶ 21); she “never made any recommendations

to customers about making any changes to their payroll practices” (id. ¶ 24); she

“cannot recall a single instance of ever making a recommendation to a customer

about purchasing timeclocks … that would be the job of Tyler salespeople,” (id. ¶

23); and she “never made any recommendations to customers on how to manage

their information databases” (id. ¶ 25). Ms. Greene’s deposition also indicates that

she never recommended to a client that they needed more training hours, and

instead, if the client was getting low on their pre-allotted hours, she would merely

indicate that to the project manager. (Greene Dep. p. 110:1-14.) Tyler has identified

no instances where Ms. Greene made any recommendations to a government

customer in contravention of her sworn testimony, let alone shown that making

such recommendations on matters of significance was a primary duty of her job.

                                         42
      Case
       Case4:20-cv-00454-KGB
             1:19-cv-01338-AT Document 45-1
                                       82 Filed
                                            Filed
                                                03/16/21
                                                  03/16/21Page
                                                           Page4343
                                                                  ofof
                                                                    4949




See, Beauford, 781 F.3d at 405 (noting that “almost all possess some discretion in

their daily work, but employees qualify for the administrative exemption only

when that discretion “is real and substantial, that is, they must be exercised with

respect to matters of consequence.”) (internal citation omitted).

      Tyler’s cited legal authority, previously discussed, does not persuade

otherwise, as the facts in those cases are inapposite. The plaintiff in Brooks

testified that he had discretion to develop training materials and pedagogic

examples without the approval or supervision of anyone at headquarters and had

the authority to supervise another employee who assisted him in these tasks. 2019

WL 497693 at *3. The court in Carbaugh, 2011 WL 5553724, at *22-23 found that

the plaintiff exercised discretion in consulting with client businesses on new

product ideas and enhancements, approving new product versions and fixes, and

developing cost savings to increase profit revenue for customers. In Cruz v.

Lawson Software, Inc., 764 F.Supp.2d 1050 (D. Minn. 2011), the plaintiffs testified

to almost “nonexistent supervision,” as they did not communicate on a regular

basis with supervisors, and also made decisions in connection with configuring

software for specific clients, upgrading software, adding new features, developing

the interface, converting data, and more. Id. at 1058-59, 1068.

      Finally, Tyler stresses that Plaintiff’s work was done at home or the

customer’s site as confirmation of her independent judgment and discretion. (See

Def. Mot. at 16) (citing Brooks, 2019 WL 497693 at *3) (noting that on multiple

occasions, plaintiff took sick or personal time at his leisure, entertained clients in

                                         43
      Case
       Case4:20-cv-00454-KGB
             1:19-cv-01338-AT Document 45-1
                                       82 Filed
                                            Filed
                                                03/16/21
                                                  03/16/21Page
                                                           Page4444
                                                                  ofof
                                                                    4949




the evening and took hour-long lunches which at times included alcohol in support

of finding of exercise discretion); (citing Verkuilen, 646 F.3d at 981) (noting that

an employee working off-site might be tempted to inflate his hours). Tyler has

pointed to no regulation or guidance making this distinction as indicative of

independent decision-making on matters of significance on its own, without other

persuasive indicators of such discretion. In the increasingly technological (and

currently, pandemic-ridden) waters in which we swim, working remotely and

separate from other employees and supervisors is not unusual, and companies

have developed ways to track employee time while not physically on the premises,

as Tyler well knows. The location of Ms. Greene’s work alone is insufficient to show

that she exercised independent judgment on matters of significance. See e.g.

Beauford, 781 F.3d at 399-400 (finding that “brand ambassadors” whose work

primarily involved visiting stores and teaching store employees about employer-

backed products, maintaining displays, and speaking with customers who had

questions about the product did not exercise discretion in matters of significance).

      As detailed thoroughly herein, Tyler has not supplied the Court with any

concrete evidence to create a genuine fact issue on whether Ms. Greene exercised

discretion and independent judgment in matters of significance as a primary

function of her job as implementation consultant. Plaintiff Greene, however, has

shown, based on the facts construed in Tyler’s favor, that she did not hold primary

duties that included the exercise of independent judgment. For this separate



                                        44
      Case
       Case4:20-cv-00454-KGB
             1:19-cv-01338-AT Document 45-1
                                       82 Filed
                                            Filed
                                                03/16/21
                                                  03/16/21Page
                                                           Page4545
                                                                  ofof
                                                                    4949




reason, the Court concludes that Ms. Greene is not subject to the administrative

exemption and summary judgment for Plaintiff on this issue is warranted.

             Willfulness

      The Court now turns to the issue of willfulness. The statute of limitations for

a claim seeking unpaid overtime wages under the FLSA is generally two years. 29

U.S.C. § 255(a). But if the claim is one “arising out of a willful violation,” the statute

of limitations is extended to three years. Id. “To establish that the violation of the

[FLSA] was willful in order to extend the limitations period, the employee must

prove by a preponderance of the evidence that his employer either knew that its

conduct was prohibited by the statute or showed reckless disregard about whether

it was.” Alvarez Perez v. Sanford-Orlando Kennel Club, Inc., 515 F.3d 1150, 1163

(11th Cir. 2008) (citing McLaughlin v. Richland Shoe Co., 486 U.S. 128, 133

(1988)). Federal regulations define “reckless disregard as the ‘failure to make

adequate inquiry into whether conduct is in compliance with the [FLSA].’” Id.

(quoting 5 C.F.R. § 551.104). To succeed on a motion for summary judgment on

this issue, Tyler “must show that no reasonable trier of fact could find that [it] acted

without good faith.” Smith v. Ideal Towing, LLC, No. 1:16-CV-1359-TWT, 2017

WL 5467154, at *8 (N.D. Ga. Nov. 13, 2017).

      Tyler argues that Ms. Greene “cannot meet the high standard to establish

that Tyler acted willfully by classifying Plaintiff as exempt,” in large part because

Tyler’s general counsel testified that the classification of implementation

consultants was “in part based on the advice of outside legal counsel,” Mr. Paolo

                                           45
      Case
       Case4:20-cv-00454-KGB
             1:19-cv-01338-AT Document 45-1
                                       82 Filed
                                            Filed
                                                03/16/21
                                                  03/16/21Page
                                                           Page4646
                                                                  ofof
                                                                    4949




McKeeby, who is also counsel for Tyler in this case. (Def. Mot. at 20-21) (citing

Bailey v. Innovative Contracting Sols., Inc., No. 1:13-cv-4114-LMM, 2014 WL

6816830, at *6 (N.D. Ga. Dec. 4, 2014) (finding no willfulness by employer in part

because employer relied on advice of counsel regarding classification)). In

response, Plaintiff points to evidence that Tyler “was sued for the exact same

violation in 2008” and that “the existence of that case is strong evidence that

Defendant was put on notice that its classification of [implementation consultants]

was legally suspect.” (Resp. to Def. Mot. at 22-23.) Further, according to Plaintiff,

Tyler’s “advice from outside counsel” rationale is insufficient because Tyler has no

records regarding this advice, can provide no details regarding outside counsel’s

(Mr. McKeeby’s) investigation in support of the advice, and Mr. McKeeby’s refusal

to testify on this subject creates a presumption that his testimony would be

unfavorable. (Id. at 23) (citing Jones v. Otis Elevator Co., 861 F.2d 655, 658-59

(11th Cir. 1988) (“[I]f a party has it peculiarly within his power to produce

witnesses whose testimony would elucidate the transaction, the fact that he does

not do it creates the presumption that the testimony, if produced, would be

unfavorable.”) (citing Graves v. United States, 150 U.S.118, 121 (1983)).

      “Although consultation with an attorney may help prove that an employer

lacked willfulness, such a consultation is, by itself, insufficient to require a finding

in favor of the employer.” Mumby v. Pure Energy Servs. (USA), Inc., 636 F.3d

1266, 1270 (10th Cir. 2011). Further, “[t]he court's operative inquiry focuses on the

employer's diligence in the face of a statutory obligation, not on the employer's

                                          46
      Case
       Case4:20-cv-00454-KGB
             1:19-cv-01338-AT Document 45-1
                                       82 Filed
                                            Filed
                                                03/16/21
                                                  03/16/21Page
                                                           Page4747
                                                                  ofof
                                                                    4949




mere knowledge of relevant law.” Id. (citing McLaughlin, 486 U.S. at 134–35); see

also, Fuentes v. CAI Int'l, Inc., 728 F. Supp. 2d 1347, 1358-59 (S.D. Fla. 2010)

(“mere reliance on the advice of counsel is insufficient to satisfy the defendants’

burden in proving their good faith in failing to pay overtime”) (citing Townley v.

Floyd & Beasley Transfer Co., 1989 WL 205342, at *4 (N.D. Ala. 1989)).

      Here, Tyler has presented no evidence of what information was supplied to

outside counsel in support of his exemption determination, no evidence of his

investigation, and no records in connection with his review or determination. Carr

v. AutoZoner, LLC, No. 5:15-CV-00356-AKK, 2020 WL 6827897, at *5 (N.D. Ala.

Nov. 20, 2020) (finding that jury question existed on question of willfulness where

defendant “has not cited any evidence regarding what information it supplied its

attorneys or what its attorneys considered when advising [defendant] about the

proper classification of its store managers … Thus, the evidence currently before

the court relating to [defendant’s] reliance on the advice of counsel does not

establish that the plaintiffs cannot prove a willful violation of the FLSA as a matter

of law.”); see also, Ideal Towing, 2017 WL 5467154, at *8 (finding that a single

assertion that defendant consulted with counsel “is not proof of good faith. The

Defendants do not provide any other information about the content or nature of

this consultation, which would be important in determining whether reliance on

this advice was both honest and reasonable”).

      In addition, Ms. Greene has supplied evidence that Tyler was previously

sued regarding the same issue of whether it improperly classified implementation

                                         47
      Case
       Case4:20-cv-00454-KGB
             1:19-cv-01338-AT Document 45-1
                                       82 Filed
                                            Filed
                                                03/16/21
                                                  03/16/21Page
                                                           Page4848
                                                                  ofof
                                                                    4949




consultants as administratively exempt under the FLSA. See Patty Beall et al. v.

Tyler Technologies, Inc., and EDP Enterprises, Inc., No. 2:08-cv-422 TJW (E.D.

Tex. 2008). Plaintiff also emphasizes that Tyler settled this case after full summary

judgment briefing but before the court ruled. (Resp. to Def. Mot. at 22-23.) Tyler

paints this past lawsuit as entirely irrelevant, citing Sullivan v. PJ United, Inc., 362

F. Supp. 3d 1139, 1175 (N.D. Ala. 2018), opinion vacated in part on

reconsideration (Aug. 7, 2018) (explaining that defendant’s settlement, in a

different judicial district did not have any bearing on whether defendants willfully

violated the FLSA through their vehicle reimbursement methodology). But other

courts have determined that prior settlements are relevant to the willfulness

determination. See e.g., Seward v. Midwest Commc'n Servs., Inc., No.

020CV00093 JRTKMM, 2020 WL 8256362, at *1 (D. Minn. Dec. 15, 2020)

(“Prior lawsuits, proceedings, and other such events in which [defendant] was

previously involved, if any, would not be made less relevant to the issues

of willfulness or good faith by the fact that they occurred in other jurisdictions, as

the FLSA is a statute of nationwide application.”); Sims v. Event Operations Grp.,

Inc., No. 2:17-CV-01489-JHE, 2019 WL 1301959, at *5 (N.D. Ala. Mar. 21, 2019)

(finding that defendants’ objective reasonableness in relying on their policies is

undermined by a motion for approval of a settlement agreement in a prior FLSA

lawsuit and finding that defendants had not shown good faith).

      Taking all of the relevant facts into consideration, the Court concludes that

there is a material question of fact as to whether Tyler knew that its conduct was

                                          48
      Case
       Case4:20-cv-00454-KGB
             1:19-cv-01338-AT Document 45-1
                                       82 Filed
                                            Filed
                                                03/16/21
                                                  03/16/21Page
                                                           Page4949
                                                                  ofof
                                                                    4949




prohibited by the FLSA or showed reckless disregard about whether it was.

Defendant’s request for summary judgment as to willfulness is DENIED.

      Conclusion

      In sum, Defendant has not shown that Ms. Greene was an exempt employee

under the administrative exemption and fact questions preclude summary

judgment on the issue of willfulness. Thus, Tyler’s Motion for Summary Judgment

[Doc. 56] is DENIED. Plaintiff has established that, under the facts of this case,

construed in the light most favorable to Tyler, Ms. Greene was nonexempt under

the applicable legal authority. Plaintiff has also established that Tyler was a

successor in interest of ExecuTime. Therefore, her Partial Motion for Summary

Judgment [Doc. 57] is GRANTED. The Court ORDERS AND REFERS this

case to mediation with the next available magistrate judge on the

rotation wheel. Mediation shall be completed by April 30, 2021. The Parties

shall notify the Court of the status of the case within 5 days of the conclusion of

mediation.   If a settlement agreement is not reached, the Parties’ proposed

Consolidated Pretrial Order shall be due 30 days after the mediation.



      IT IS SO ORDERED this 16th day of March 2021.



                                      ____________________________
                                      Honorable Amy Totenberg
                                      United States District Judge




                                        49
